                    Case 14-35622-RAM        Doc 69    Filed 12/20/18   Page 1 of 1
                       UNITED STATES BANKRUPTCY COURT
                                    MIAMI
                     SOUTHERN DISTRICT OF FLORIDA DIVISION

                                                                    CASE NO.: 14-35622-BKC-RAM
                                                                  PROCEEDING UNDER CHAPTER 13

IN RE:

CLYDE RAY, JR

_____________________________/
DEBTOR

                   REPORT OF COMPLIANCE WITH LOCAL RULE 3070-1(B)

    Nancy K. Neidich, Esquire, Standing Chapter 13 Trustee in the above matter, reports to this Court as
follows:

   1. The Debtor, pursuant to Local Rule 3070-1(B) was to be current in all payments under the
      confirmed Chapter 13 Plan on or before December 02, 2018. The Debtor has complied with the
      said order.

   2. Accordingly, the Trustee reports that this case should proceed in the normal course.

   WHEREFORE, the Trustee reports these facts to the Court for appropriate action.
   RESPECTFULLY SUBMITTED this 20th day of December, 2018.



                                                         /s/ Nancy K. Neidich
                                                        _____________________________________
                                                         NANCY K. NEIDICH, ESQUIRE
                                                         STANDING CHAPTER 13 TRUSTEE
                                                         P.O. BOX 279806
                                                         MIRAMAR, FL 33027-9806




CC: CLYDE RAY, JR
    CAROLINA A. LOMBARDI, ESQUIRE
